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 2
                            IN THE UNITED STATES DISTRICT COURT
 3
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
 5   United States,                             )
                                                )    2:10-cr-501-GEB-3
 6                     Plaintiff,               )
                                                )
 7              v.                              )    ORDER FOLLOWING IN CAMERA
                                                )    REVIEW DENYING DEFENDANT’S
 8   Luis Torres-Hernandez,                     )    REQUEST TO FILE DOCUMENTS
                                                )    UNDER SEAL
 9                 Defendant.                   )
     ________________________________           )
10
11               On   April    25,   2012,    Defendant     submitted    for   in   camera

12   consideration two documents he desires to be filed under seal. One of

13   the documents is Defendant’s counsel’s declaration, which could be filed

14   under   seal,    but   Defendant   has   not   shown   why   this   declaration    is

15   necessary in this case. The other document is a sentencing memorandum,

16   part of which clearly should have been filed on the public docket; and

17   it appears that the remainder of the sentencing memorandum could have

18   been stated differently to avoid the need to invoke sealing law.

19   Therefore, the declaration and sentencing memorandum will not be sealed.

20   However, Defendant may reconsider whether he needs to invoke sealing law

21   for any portion of the documents he opines should be filed under seal

22   and again present any portion thereof with justification for a sealing

23   order since sufficient time still exists for defendant to re-submit what

24   he opines should be sealed.
     Dated: April 26, 2012
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26
                                        GARLAND E. BURRELL, JR.
27                                      United States District Judge
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